Case 1:05-cr-20874-CMA Document 3 Entered on FLSD Docket 07/02/2014 Page 1 of 7
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                            U N ITED STAT ES D ISTR IC T C O U RT

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                                      21U.S.C.j963
                                      18U.S.C.j 1956(h)
                                      18U.S.C.j1957
                                      21U.S.C.j853
                                      18U.S.C.j982
 U N ITED STA TES O F A M E RICA
                                                          FILED by            D.
                                                                               C.
                                                          MAG.SEC.
 VS.

 GW    PH ILIPPE,
                                                              N0V 2'2 2œ5
                      D efendant.                             CLARENCE MADDOX
                                                             cLERK u.s. DlsT. cT,
                                                /            s.D. oF FLA.. MIAMI


                                       IN D ICTM E NT

       TheGrandJury chargesthat:

                                           COUNT I

       From in orabout1997,and continuinguntilin oraboutM arch 2001,theexactdatesbeing

 unknown to the Grand Jury,in M iam i-Dade County,in the Southern Distdct ofFlorida,and

 elsewhere,the defendant,

                                      GW    PH ILIPPE,

 didknowingly and intentionally combine,conspire,confederateand agreewith otherpersonsboth

 known and unknown to the Grand Jury,to importinto the United States,from a place outside

 thereof,acontrolledsubstance,inviolationofTitle21,United StatesCode,Section952(a);al1in
 violation ofTitle21,U nited StatesCode,Section 963.

       PursuanttoTitle21,UnitedStatesCode,Section960(b)(1)(B),itisfurtherallegedthatthis
 violation involved fivekilogram sorm oreofam ixture and substancecontaining adetectableam ount

 ofcocaine.




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                                           C O UN T Z

        BegirminginoraboutJune 1999,andcontinuinguntilinoraboutApd12003,inM inmi-Dade

 Cotmty,in the Southern DistdctofFlorida,and elsewhere,thedefendant,

                                       G U Y PH ILIPPE ,

 did knowinglyandintentionally combine,conspire,confederateand av eewith otherpersonsboth

 known andunknowntotheGrand Jury,tocom mitoffensesagainsttheUnited Statesin violation of

 Title 18,United StatesCode,Sections1956 and 1957,thatis:

        A.Toknowinglyconductafinancialtransaction,affectinginterstateandforeigncomm erce,

 which transaction involved the proceeds ofsom e form oftm lawfulactivity,with the intentto

 promotethecanying on ofspecifiedtmlawfulactivity,andthatwhileconducting such transaction,

 knew thatthepropertyinvolvedin thefinancialtransaction representedtheproceedsofsom eform

 ofspecifiedunlawfulactivity,inviolationofTitle18,UnitedStatesCode,Section1956(a)(1)(A)(i);
 and

        B. Toknowinglyconductafinancialtransaction,affectinginterstateandforeir comm erce,

 which transaction involved the proceeds of som e form ofunlawfulactivity,knowing thatthe

 transaction is designed in whole and in partto concealand disguisethe nature,the location,the

 source,theownership andthecontroloftheproceedsofspecified unlaw fulactivity,and thatwhile

 conductingsuchtransaction,knew thatthepropertyinvolvedinthefinancialtransactionsrepresented

 theproceeds ofsome fonn ofspecified tmlaw fulactivity,in violation ofTitle 18,United States

 Code,Section 1956(a)(1)(B)(i);and
            To know ingly engage in a m onetary transaction, by, through, and to, a financial

 institution,affecting interstate and foreign com m erce,in crim inally dedved property of a value
Case 1:05-cr-20874-CMA Document 3 Entered on FLSD Docket 07/02/2014 Page 3 of 7
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 greaterthan $10,000.00,such property having been derived from specifed unlaw fulactivity,in

 violation ofTitle 18,United StatesCode,Section 1957.

        Itisfurtherallegedthatthefinancialtransaction involvedtheproceedsofspecifiedunlawful

 activity,thatis,thefeloniousimportation,receiving,concealment,buying,selling,and othem ise

 dealingin acontrolled substance,punishableunderthelawsoftheUnited States.

        Allinviolation ofTitle18,UnitedStatesCode,Section 1956(h).
                                           C O U NT 3

        Beginning on oraboutNovember28,2000 and continuing untilon oraboutDecember 1,

 2000,inM iami-DadeCounty,in theSouthern DistrictofFlorida,and elsewhere,thedefendant,

                                       G IJY PH ILIPPE,

 did knowingly engage and attem ptto engage in am onetary transaction,thatis,the transfer and

 exchange of funds and a monetary instrum ent,that is,check ntlmber 291,in the amount of

 $112,000.00,drawn on FirstUnion NationalBank accountnumber 1010020252306,held in the

 nameofGuyandNataliePhilippe,andmadepayabletoOmarParejaFiguoroa,by,through,andto,
 afinancialinstitution,affectinginterstateand foreign com m erce,in crim inally derived propertyof

 avaluegreaterthan$10,000.00,suchpropertyhavingbeenderived 9om specifedunlawfulactivity.

        ltisfurtherallegedthatthemonetarytransactioninvolvedtheproceedsofspecifedunlawful

 activity,thatis,the feloniousimportation,receiving,concealm ent,buying,selling,and otherwise

 dealing in acontrolled substance,punishabletmderthe lawsoftheUnited States.

        A 11in violation ofTitle 18,U nited StatesCode,Sections 1957 and 2.
Case 1:05-cr-20874-CMA Document 3 Entered on FLSD Docket 07/02/2014 Page 4 of 7
                           p,                                       Q

                          A SSET FO R FEITU RE A LLE G AT IO N S

        1.TheallegationsofCounts1through 3 ofthisIndictm entarere-alleged andincop orated

 herein forthepup ose ofalleging forfeitureto theUnited StatesofAm ericaofcertain property in

 which the defendanthas an interest,pttrsuantto theprovisionsofTitle 18,United States Code,

 Section982andTitle21,UnitedStatesCode,Section 853,andtheproceduressetforthinRule32.2,

 FederalRulesofCrim inalProcedtlre.

        2.Upon conviction ofany violation ofTitle l8,united States Code,Sections 1956 and/or

  1957,defendantshallforfeitto theUnited Statesanyproperty,realorpersonal,involved in such

 offensedranypropertytraceableto such propertypursuantto Title18,United StatesCode,Section

 982(a)(1).
        3.Upon conviction ofany violation ofTitle 21,United States Code,Section 963,the

 defendantshallforfeitto theUnited Statesanyproperty constituting orderived 9om any proceeds

 thedefendantobtained,directlyorindirectly,astheresultofsuchviolation,andanypropertywhich

 the defendantused or intended to be used in any m nnnerorpartto comm it or to facilitate the

 comm ission ofsuch violation pursuantto Title21,United StatesCode,Section 853.

        4.Thepropertysubjecttoforfeitureincludesbutisnotlimitedto:
                                    M O NEY JU D G M EN T

               (A)Thesum ofapproximately$1,500,000inUnitedStatescurrencyanda11interests
               and proceeds thereto,in thatsuch stlm constitutes and is derived from proceeds
               whichthedefendantobtained directly andindirectly asaresultofthecomm ission of
               thecrim inaloffensesallegedin Count1,and in thatsuch sum ,in theagp egate,was
               involved in and istraceable to,the cdm inaloffenses alleged in Counts 1 throug,h 3.

        5.PursuanttoTitle21,UnitedStatesCode,Section8531),ifpropertydescribedaboveas
 beingsubjecttoforfeiture,asaresultofanyactoromission ofthedefendant,

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 Case 1:05-cr-20874-CMA Document 3 Entered on FLSD Docket 07/02/2014 Page 5 of 7
                              Q                                   @

                  (A) cnnnotbelocateduponduediligence;
                  (B) hasbeentransferred,orsoldto,ordepositedwithathirdparty;
                  (C) hasbeenplacedbeyondthejurisdictionoftheCourt;
                  (D) hasbeen substantiallydiminished invalue;or
                  (E) has been commingled with other property which cannotbe subdivided
                  w ithoutdiftk ulty;

   itistheintentoftheUnited Statesto seek theforfeittlreofotherpropertyofthedefendantup tothe

   valueoftheabove-described forfeitableproperty.

         Al1pursuantto Title 18,United StatesCode,Section 982 and Title21,United StatesCode,

   Section 853.

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   L     M .K IRKPA T
   AS I AN1          TE ST        S ATTOKNEY
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    AVID S.W EINSTEIN
   ASSIST T UNITED             TES ATTORNEY


   J     W .SELLER
       AL ATTORN EY,DEPARTM ENT OF JUSTICE


   TH OM A S J.PIN D ER
   TRIAL ATTORN EY,DEPARTM ENT OF JUSTICE
 Case 1:05-cr-20874-CMA Document 3 Entered on FLSD Docket 07/02/2014 Page 6 of 7
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  TE:STATESOFAMERICA 0 y= % 0 8 7 4 ?                                                 .
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VS.
                                              CERTIFICATE O F TR IA L ATTO RNEY*
G UY PHILIPPE,                                                                                    MAft'(M NrkA?R 'JI>
                                              S                                                         %, 1A7JON
             Defendant.               /           uperseding Case Inform ation:
Coud Division:(selectonel                     New Defendantts)                  Yes                 No
                                              Num berof New Defendants
                                              Totalnum berofcounts
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     Lmi            w
                    KeIBWestFTp
      Ido hereby cedify that:                                                                                   .
      1.     lhavecarefullyconsidqredtheallegationsoftheindictmqntthenumbeqofdefendants,!he
             num ber of probable wltnesses and the Iegal com plexitles of the Indlctm ent/lnform atlon
             attached hereto.
      2.     lam aware thatth: inform ationsupplied on thisstatementwillbe relied upon by the Judges
             ofthisCourtinsettlqgthelrcalendarsandschedulingcrim inaltrialsunderthe m andate ofthe
             Speedy TrialAct,Tltle 28 U.S.C.Section 3161.
                                                                                 FlLED by                D.C.
             Interpreter: (YesorNo)                    Yes                       MAG.sEc.
                                                                                        -
             ListIanguage and/ordialect
      4.     Thiscasewilltake         tn      daysforthepadiesto try        .
                                                                                      N0V 22 2W 5
      5.     PleasecheckappropriatecategoryandtypeofoffenseIisted elokNj
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      ll     6 to 10 days                         Y             Minor
      IlI    11 to 20 days                                      M isdem .
      IV     21 to 60 days                                      Felony                        Y
      V      61 days and over
      6.     HasthiscasebeenpreviouslyfiledinthisDistrictCoud? (YesorNo)                            Nn
      lfyes:
      Judge'
           ,                                           Case No.                                                 '
      (Attachcopyofdispositiveorder)
      Hasacomplaintbeenfiledinthismatter? (YesorNo) Nn
      Ifyes:
      Magistrate Case No.
      Related M iscellaneous num bers'
                                     . Om 7nM m nr-nnnkp n6-7f17qR-t7r-Ipnnrfi ns-7n7:g-nr-u nrfinpm
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        r- Oreno    -       - ar er       -       - r- Oore S
       e en ants In e era custo y as o
      Defendants in state custody as of
      Rule 20 from the                                 Districtof
      Isthisapotentialdeathpenaltycase? (YesorNo)                   No
             Do:sthis case originate from a matterpending in the U.S.Attorney'sOffice priorto
             Aprll 1,2003? X      Yes             No
      8.     Do:sthis case originate from a matterpending in the U.S.Attorney's Office priorto
             Aprll1,1999? X Yes           No
             lfyes,was itpeW g in thWr entralRegion? Yes X No
      9.     Doysthi!caseorini
                            Inate from a matterpending inthe Nodhern RegionoftheU.S.Attorney's
             Offlce prlorto Oc ober14,2003?              Yes      X No
      10.    Doesthiscase originate from a matterpending inthe Narcotis                   ctio (Miami)priorto
             M ay 18,2003 ?                            X Yes -      No

                                                             M , K IR K PATR
                                                       AS STANT UNITED S          TES ATTO RNEY
                                                       Coud ID No.A5500737
PenaltySheetls)attached                                                                            REV.1/14/%
Case 1:05-cr-20874-CMA Document 3 Entered on FLSD Docket 07/02/2014 Page 7 of 7
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                           U NITED STATE S D ISTR ICT CO UR T
                           SO UT H ER N D ISTR ICT O F FL O R ID A

                                      PENALTY SHEET

 D efendant'sN am e: G W PH ILIPPE
                                                                                 > O1W 'I1A'iIB J'te l
  CaseNo:0 5 - 2 0 8 1 4 çq-
                           .?ïLT0qr.S#                                               KUM OO

 Cotmt #:1

   Consoiracv to importcocaineinto theUnited States

   Title21.United StatesCode.Stcsion 967

  *M ax.penal : Life im risonm ent                                                       .
                                                               t      L)y            ..
 C otm t #:2                                                   MAG.SEC.

    Cons irac to launderm onet instrum ents                         N0V 2 2 2925
    Title 18 UnitedStatesCode Section 1956 h                       k@
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                                                                               .Mi   t

  *M ax.Penalty: 20 years'imprisonm ent

  Count #:3

     Engagingin monetarvtransactionsin prooertv derived from specified unlawfulactivity

     Title 18.United StatesCode.Section 1957

  *M ax.Penalty: 10 years'imprisonm ent

  Cotmt #:




  *M ax.Penalty:




   *R efers only to possible term ofincarceration,does not include possible fines,restitution,
             specialassessm ents,parole term s,or forfeitures thatm ay be applicable.
